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8                               UNITED STATES DISTRICT COURT
9                             CENTRAL DISTRICT OF CALIFORNIA
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11   DOMINICK MARTIN, an individual,                Case No. 8:22-cv-00410-CJC (KESx)
12                 Plaintiff,                       DECLARATION OF SCOTT J.
                                                    FERRELL IN SUPPORT OF
13                 v.                               MEMORANDUM OF POINTS AND
                                                    AUTHORITIES IN SUPPORT OF
14   THE CONTAINER STORE, INC., a                   PLAINTIFFS’ RESPONSE IN
     Texas corporation; and DOES 1-10,              OPPOSITION TO DEFENDANT’S
15   inclusive,                                     MOTION TO STAY
16                 Defendants.                      [Memorandum of Points and Authorities
17                                                  filed concurrently herewith]
18                                                  Date: May 16, 2022
                                                    Time: 1:30 p.m.
19                                                  Ctrm: 9B
                                                    Judge: Hon. Cormac J. Carney
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                                   DECLARATION OF SCOTT J. FERRELL
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1                         DECLARATION OF SCOTT J. FERRELL
2          I, Scott J. Ferrell, declare and state as follows:
3          1.     I am an attorney duly licensed to practice law in the State of California and
4    before this Court. I am counsel for Plaintiff Dominick Martin (“Plaintiff”) and make this
5    declaration in support of Plaintiff’s Memorandum of Points and Authorities in Opposition
6    to Defendant’s Motion to Stay. I have personal knowledge of the following matters, or
7    know them to be true based on my review of Pacific Trial Attorneys’ records kept in the
8    regular course of its business, and if called to testify concerning them, I could and would
9    do so competently.
10         2.     On December 17, 2021, I sent a pre-filing demand letter to Defendant The
11   Container Store, Inc. (“Defendant”) on Plaintiff’s behalf via Fedex overnight delivery
12   regarding the accessibility of Defendant’s website at containerstore.com. I did not
13   receive any response to my letter before Plaintiff’s commencement of the underlying
14   action commenced in the California Superior Court in Orange County, which was filed
15   on February 2, 2022. Attached hereto as Exhibit “1” is a true and correct copy of my
16   letter to Defendant dated December 17, 2021.
17         3.     I have reviewed the docket sheet in Cervantes v. The Container Store, Inc.,
18   No. 2:21-cv-01791-MCE-KJN (E.D. Cal. filed Sept. 29, 2021) (“Cervantes”). As of
19   April 22, 2022, the most recent docket entry was item number 6, a Corporate Disclosure
20   Statement filed on October 27, 2021, which is consistent with the docket sheet attached
21   as Exhibit B to Defendant’s Request for Judicial Notice in Support of Motion to Stay
22   Proceedings Pending Resolution of Related Case filed on April 15, 2022.
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24         I declare under penalty of perjury under the laws of the United States of America
25   that the foregoing is true and correct. This declaration was executed on April 25, 2022.
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27                                                  /s/Scott J. Ferrell
                                                    Scott J. Ferrell, Esq.
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                                  DECLARATION OF SCOTT J. FERRELL
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1                                     CERTIFICATE OF SERVICE
2          I hereby certify that on April 25, 2022, I electronically filed the foregoing
3    DECLARATION OF SCOTT J. FERRELL IN SUPPORT OF MEMORANDUM
4    OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S RESPONSE
5    IN OPPOSITION TO DEFENDANT’S MOTION TO STAY with the Clerk of the
6    Court using the CM/ECF system which will send notification of such filing via electronic
7    mail to all counsel of record.
8                                                       /s/ Scott J. Ferrell
9                                                       Scott J. Ferrell
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                                  DECLARATION OF SCOTT J. FERRELL
